            Case 1:12-cv-10249-GAO Document 4 Filed 04/09/12 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                 :
Heather Dagle,                                   :
                                                 :
                       Plaintiff,
                                                 : Civil Action No.: 1:12-cv-10249-GAO
       v.
                                                 :
Student Assistance Corporation; and              :
DOES 1-10, inclusive,                            :
                                                 :
                       Defendants.               :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITHOUT PREJUDICE
                          PURSUANT TO RULE 41(a)

       Heather Dagle (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: April 9, 2012

                                                     Respectfully submitted,

                                                     By: /s/ Sergei Lemberg

                                                     Sergei Lemberg, Esq.
                                                     BBO No.: 650671
                                                     Lemberg & Associates L.L.C.
                                                     1100 Summer Street, 3rd Floor
                                                     Stamford, CT 06905
                                                     Telephone: (203) 653-2250
                                                     Facsimile: (203) 653-3424
                                                     Attorneys for Plaintiffs
          Case 1:12-cv-10249-GAO Document 4 Filed 04/09/12 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on April 9, 2012, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court for the District of Massachusetts
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                            By_/s/ Sergei Lemberg_________
                                                Sergei Lemberg, Esq.
